         Case 2:20-cv-04759-CMR Document 24 Filed 05/06/22 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 RICHARD A. GORMAN,
                       Plaintiff,
               v.                                     CIVIL ACTION NO. 20-4759

 ILYA SHPETRIK,
                       Defendant.


                                    AMENDED ORDER

       AND NOW, this 6th day of May 2022, upon consideration of additional information

provided to the Court about Defendant’s unopposed request for an extension of time to respond

to Plaintiff’s Complaint, it is hereby ORDERED that the request is GRANTED. Defendant may

file a response to the Complaint on or before May 19, 2022.

       It is so ORDERED.

                                                       BY THE COURT:

                                                       /s/ Cynthia M. Rufe
                                                       _____________________
                                                       CYNTHIA M. RUFE, J.
